                          UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

UNITED STATES OF AMERICA                        )
                                                )
v.                                              )      NO. 3:10-00258
                                                )      JUDGE CAMPBELL
MIGUEL PADILLA                                  )


                                        ORDER


      Pending before the Court is the Government’s Motion in Limine to Exclude Evidence and

Argument About the Timing of the Superseding Indictment (Docket No. 386). The Motion was

GRANTED at trial.

      It is so ORDERED.

                                                ____________________________________
                                                TODD J. CAMPBELL
                                                UNITED STATES DISTRICT JUDGE




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